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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

                                            §
THE DAILY WIRE, LLC, et al.,                §
                                            §
        Plaintiffs,                         §
                                            §
v.                                          §    Case No. 6:23-cv-609-JDK
                                            §
UNITED STATES DEPARTMENT OF                 §
STATE, et al.,                              §
                                            §
        Defendants.                         §

     ORDER GRANTING-IN-PART AND DENYING-IN-PART MOTION TO STAY

         Before the Court is Defendants’ motion to stay their deadlines to respond to

 Plaintiffs’ complaint, motion for preliminary injunction, and motion for expedited

 preliminary-injunction discovery. Docket No. 8. Having considered the arguments,

 the Court DENIES the motion with respect to the preliminary injunction and

 expedited briefing deadlines.     However, the Court GRANTS the agreed-upon

 forty-five-day extension of Defendants’ deadline to respond to Plaintiffs’ complaint.
         Accordingly, Defendants must respond to the complaint by March 28, 2024.

          So ORDERED and SIGNED this 9th day of February, 2024.



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                                            JEREMY D. KERNODLE
                                            UNITED STATES DISTRICT JUDGE




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